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cartor Kiki Brown :
VV. > En ED No. 18-CV-1527
, SCRANTON
LT, Gildea et OV... ®& MAR 1 7 2026
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SCl- "Huntingdon
4100 Pike St.

APO NS Biintingdon, PA 16654-1112
Bho wh

_ This serves to fe receipt of your grievance to this office. In accordance with the provisions of DC-ADM 804,
“Inmate Grievance System,” | have reviewed all documents provided as part of the grievance. Upon consideration of
the grievance, it is the decision of this office to reject your grievance due to a failure to comply with the provisions of the
DC-ADM 804, as specified below.

        

    
   
   

 

 

 

 

Gartor Brown NA6401

 

 

HUN 2 GD-Unit

 

 

 

721491

‘Rejection

 

. Grievances related to the following issues shall be handled according to procedures specified in the policies
listed and shall not be reviewed by the Facility Grievance Coordinator. _
a) DC ADM 008 Prison Rape Elimination Act (PREA) - allegations of a sexual nature against a staff
member and/or inmate-on-inmate sexual contact.
b) DC ADM 801 Inmate Discipline/Misconduct Procedures
c) DC ADM 802 Administrative Custody Procedures
d) DC ADM 803 Inmate Mail and Incoming Publications, Section 3, E.
. The grievance was not submitted within 15 working days after the events upon which claims are based.
. Grievance involves matter(s) that occurred at another facility and should be directed by the inmate to the
appropriate facility.
. The grievance was not signed and/or dated with correct commitment name or number, contained UCC
references, or was not presented in proper format.
. Grievance must be legible, understandable, and presented in a courteous-manner.
. The grievance exceeded the two page limit. Description needs to be brief.
. Grievance does not indicate that you were personally affected by a DOC or facility action or policy.
. Grievances based upon different events must be presented separately.
. The issue(s) presented on the attached grievance has been reviewed or is currently being reviewed and
addressed in prior grievance
10.Group grievances or grievances fi filed on behalf of another inmate are prohibited.
11.Grievance disputes previous grievances, appeal decisions, or staff members who rendered those decisions.
12.You are currently on grievance restriction. You are limited to one grievance every 15 working days. Last
grievance # _ Submitted on
13. You have not provided this office with the required documentation for proper review such as a DC153A
Personal Property Inventory Sheet, Confiscated Items Receipt, Commissary/Outside Purchase Form, or
documents outlined on the DC ADM 005 Notification of Deductions memo and/or the Notification of Amended
Deductions memo.
14. The publication appeal did not include a copy of the Notice of Incoming Publication Denial form (Attachment
3-B of DC ADM 803).

 

 

 

 

 

 

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Signature:

 

 

 

 

 

 

Title: Facility Grievance Coordinator
Date: 2-15-18
cc: DC-15

File

DC-ADM 804, Inmate Grievance System Procedures Manual

Section 1 — Grievances & Initial Review Attachment 1-C
Issued: 1/26/2016
Effective: 2/16/2016
Case 3:18-cv-01527-MCC Document 84 File

   

INMATE NUMBER

FACILITY,

    

 

 

  
    
 

 

 

GRIEVANCE#

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INMATE SIGNATURE: ~

DC-ADM 804, Inmate Grievance System Procedures Manual

Section 2— Appeals
Issued: 12/1/2010 ~
Effective: 12/8/2010

 

Attachment 2-E
 
 

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"Facility Mariager’s Appeal Responsf™®

$Ci-Huntingdon
1100 Pike St.

Huntingdon, PA 16654-1112

    
   
   

This serves to acknowledge receipt of your grievance appeal to the Facility Manager for the grievance noted
below. In accordance with the provisions of DC-ADM 804, “Inmate Grievance System Policy,” the following
response is being provided based on a review of the entire record of this grievance. The review included your
initial grievance, the Grievance Officer’s response, your appeal to me, and any other documents submitted.

 

 

‘Gartor Brown NA6401

  
   

 

 

 

HUN GD-Unit

 

    

721491

 

  
  

 

   
  
 

Uphold Response (UR) | | Uphold in part/Deny in part
| (_] Uphold Inmate (Ul) [|_| Dismiss/Dismiss Untimely
of this Facility Manager to uphold the initial response, uphold the inmate, dismiss, or uphold
in part/deny in part. This response will include a brief rationale summarizing the conclusion and any action.
taken to resolve the issue(s)-raised in.the grievance and your appeal and relief sought.

in reviewing your initial grievance and appeal, | note your original grievance was rejected because it was not
understandable. In your appeal to this rejected grievance, you repeat the request presented in your initial grievance. |
note in your initial:grievance, you request to preserve video; however, you do not present any complaints or issues. |
must agree this is more of a request than a grievance, and it is not clear what your issue is. DC ADM 804 does permit
you to resubmit a rejected grievance; however, you chose to appeal the rejection instead. | must agree grievance

#721491 has been properly rejected. .

  
     
 

‘Signature: “Kevin Kauffman - oN eeu a oe

 

 

 

 

 

 

Title: Facility Manager A ,
Date: 3-27-18 ®
cc: DC-15
File

DC-ADM 804, inmate Grievance System Procedures Manual

Section 2 - Appeals Attachment 2-B
Issued: 12/1/2010
Effective: 12/8/2010
    
 
 

Case 3:18-cv-01527-MCC Document 84 Filed 03/17/20 Page 8 of 15

Initial Review Response.
SCI Huntingdon

 

 

 

1100 Pike St .
Huntingdon, PA, 16654-1112) G Xb 4 CG
06/19/2019 01:39 E, ih it
‘Inmate Name: ‘BROWN, GARTOR KIKI DOC #: ‘NAG401

      
 

0D:

‘Grievance #:

This serves to acknowledge receipt of your grievance to the assigned Grievance Officer. The response is as foliows:

 

Response:

| have received and reviewed your grievance, #803011. !n your grievance, you state that CO1 Kirsch was receiving mail, on
05/07/2019. You claim that Officer Kirsch asked you what was in the envelope. ‘You then claim that you disclosed the contents of
the envelopes. After you disclosed to Officer Kirsch that material in the envelope pertained to an Appeal that was time barred,
you claim that Officer Kirsch stated, ‘that's because we don't send your grievances out, Why you think all your shit's time bar.’
You then state that you also handed Officer Kirsch.a second packet with legai mull. As Officer Kirsch was walking away from your
cell, you also claim that Officer.Kirsch also said, ‘that shit with all the exhibits you send to the court of appeals, motion to re-open
did not go out too.' (05/05/19) You then state that Officer Kirsch placed your mail on the mailbox without stamping it. You
continue in your grievance, stating that Officer ‘Johnson’ (Johnston) did stamp: and staple your mail, then place them in the
mailbox. You then claimed that you were overcharged to mail one of your packages. You are bringing Municipal claims against
'4 John Does’, in their official and individual capacities. You, also, claim negligence, due process, equal protection, retaliation,
discrimination, and harassment against Officer Kirsch. You are asking for $200,000 / each defendant in punitive and
compensatory damages. .

   

| have queued Officers Kirsch and Johnston, reviewed CCTY foc age
stated that he did pick-up mail on D-Quad on 5/7 TS » OFC irsch recalled that your envelopes were too large to slide through
the door, so he had to. open the feeding aperture to retrieve your mail. Officer Kirsch stated that he.never did, nor would he, ask
you to disclose confidential information contaied-in your mail. Officer Kirsch deniad making any statements about your mail not
being handled properly by staff. Officer Kirsch did confirm that he did not have the Cash Slip Stamp on D-Quad. Officer
Kirsch asked Officer Johnston, who had the stamp to process your Légal Mail that he had prepared on the D-Quad mailbox.
Officer Johnston did confirm that he and Officer Kirsch did discuss about getiing your Legal Mail stapled and stamped, prior to
Officer Johnston entering D-Quad. | have collected 5 cash slip receipts, (3) for $/5/19 and (2) for 5/7/19, that can prove that staff
collected, stapled, and stamped your Legal Mail properly.

After investigating your claims in your grievance. #801572, | find your grievance .. Denied (Frivolous)

@ Frivolous:

Video displays that staff acted appropriately with your mail. Cash slip receipis display that.all the mail packages, that you claim
were not sent out, due tostaff negligence, did, in fact, get mailed out.

 

DC-ADM 804, Inmate Grievance System Procedures Manual

Section 1 - Grievances & Initial Review, Attachment 1-D Issued: 1/26/2016 Effective: 2/16/2016
NA6401 . .

BROWN, GARTOR KIKI Paget of 2
Case 3:18-cv-01527-MCC Docu We

 

 

1100 Pike St
Huntingdon, PA, 16654-1112

 

BY Alvi yee oy

10/29/2019 12:57

 

 

Inmate Name: STRONG, JAMES | : 'NQ9909

oe
Grievance #:

 

 

This serves to acknowledge receipt of your grievance appeal to the Facility Manager for the grievance noted above.
In accordance with the provisions of DC-ADM 804, “Inmate Grievance System Policy”, the following response is
being provided based on a review of the entire record of this grievance. The review included your initial grievance,
the Grievance Officer's response, your appeal to me and any other documents submitted.

 

Decision:Uphold.Respo

 

 

SIRE NESE

Response:

In reviewing your grievance and appeal, | note your concern with Officer Garlick was appropriately addressed by Lt.
Campbell. In your appeal, you claim the following: the grievance officer's response is tactic approval of the actions of
CO Garlick, CO Garlick used racial, ooscene.and vulgar language towards you, you are asking for the video footage
of the dates in question to be retained, the video will show your ceil light on and your door not covered and will also
show CO Garlick making racial slurs and denying you breakfast and lunch. You also state CO Garlick has had a
number of complaints filed on him by other prisoners dating back to before you came here.

After reviewing the initial response, | find Lt. Campbell investigated your complaints and his investigation revealed, if
your cell light or window was covered in any way, staff were directed to not open the feeding aperture, which is per
the 06.05.01 Administration of Security Level Five Housing Unit policy. You claim the video footage will reveal you
had your cell light on, door not covered and GO Garlick making racial slurs and denying you lunch and dinner. Lt.
campbell informed, th the reviewed the video and could find no interaction with CO Garlick that substantiated

 
 

   
 

 

your claim; furthermore, the vided footag STi6 Sound, therefore, there is no way to substantiate what was said. Lt.
Campbell also interviewed CO Garlick and. he denied your allegations. You also claim that CO Garlick has prior
complaints filed against him by other inmates, this issue was not addressed on appeal, and furthermore, these other
inmates can utilize the DC ADM 804 for their complaints.

In closing, | can only reiterate that | uphold the response provided by the grievance officer. Your grievance is found
to be without merit.

 

 

‘Signature:

 

cc: DC-15
File

 

DC-ADM 804, Inmate Grievance System Procedures Manual

Section 2 - Appeals, Attachment 2-B . Issued: 1/26/2016 Effective: 2/16/2016
NQ9809 Grievance #820608

STRONG, JAMES Pagei of 1

 

 

 

 

 

 

 
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(Exiaiis KN

Lt Orndorf, who conducted the initial Interview with Inmate Brown on the night the sick
call slip was discovered, stated “Inmate Brown would not give any details other than he
was sexually assaulted by his ex-cellie, FX1504 Allen”. Lt Orndorf stated “Inmate Brown |
alleged his nose was broken, he refused any médical treatment and I did not notice any

injuries or abnormalities to Brown's face that would suggest a broken nose”.

 
   

 

. "Lt Orndorf submitted a written statement.

_ Subject Staff/Inmate Version:

 

  

FX1504 Allen was interviewed on February 14, 2018 in D-2 School by Trooper Lear and
Lt Maxwell.

During the interview the allegations against Allen were reviewed. Allen denied the
allegations of sexual misconduct against him, clalmed Brown is lying and Brown is
rental chavenged. Allen stated he never had a fight with Brown or did anything sexual
ith him. Allen stated he doesn’t know why Brown was making this stuff up, he didn't
know if he was trying to get out of jail or get a “Z” code. Allen stated he a Ene
Brown was oy until after he was in me cell for a coupe says? butt 12. did ally.

 
 
 

|. Standing al “ ne J é :

were fighting and we both-said-ne4+-Al en further (goed “The CO gave Soan o eek of

_ clean sheets due to some of the soca Ueting 6 on them from his nose’. When asked if he
ever put his hands on Brown physically or sexually, Allen stated “No”. Allen was asked if
Brown ever pursued him sexually, he stated “No, there was never any contact between
the two of us ever”,

   

FX1504 Allen submitted a written statement.
Review of Documentation/Video: _

A review of the Medical/Dental Sick Call Request authored by NA6401 Brown alleging he
a was assaulted from February 3, 2018 thru February 7, 2018 and raped on February 7,
2018. Brown alleged he had a lot of injuries.

A review of DC-121 Employee Report of Incident authored by LPN Trice stating she
received a sick call slip from NA6401 Brown alleging he was physically and sexually
assaulted by his previous cellmate from February 3, 2018 through February 7, 2018.

 

 

State Correctional Institution at Huntingdon, 1100 Pike Street, Huntingdon, PA 16654

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Ref: 1258512 pq 24 of 45 for GARTOR BROWN

 

 
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CEXhibit K \

REPORT TYPE DATE[SVOAY(S) OF INCIDENT INCIDENT WO,
PENNSYLVANIA STATE POLICE INCIDENT oe | PATS 184001
| OTH! Fines) GF EDEN
CONTINUATION sneer. KI C] OTHER THM) OF INCIDENT JUVENILE | DOMESTIC VOLENGE
SUPPLEMENTAL INVESTIGATION REPORT. € . . 7 / Og on

ee nic set C1 miss chtecxter DISP.: Cl cceanen ev ARResT OJ UNrouNdED [7] excep TiONALLY CLEARED. DATE
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SP 70081 (12-0010)

 

 

 

 

 

 

 

 

      
   
   

     

 

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NOT. APPLIGABLE Fa co

 

 

The iacaton oF Fit incident | is $.C.1. Huntingdon-1100 Pike Street, Huntingdon PA, 16654-Smithfield
Township/Huntingdon County. The scene of this incident is RHU Cell GA-1008 at SCI Huntingdon.

SYNOPSIS:
_ MAXWELL contacted PSP Huntingdon to report an alleged assault and rape at
@ MAXWELL stated Inmate#NA6401 Gartor Kiki BROWN reported to medical.
start ysically beat up) by his cell mate Inmate#FX1504 Raheem ALLEN from
02/03/18 until 02/07/18. BROWN reported he was raped by ALLEN o ALLEN on 02/07/18. BROWN initially
refused medical attention but later allowed pictures fo be taken.

PHYSICAL EVIDENCE:
None

INVESTIGATIVE DETAILS:
rer

| ORNDORE and LPN
rape was available.

INTERVIEW: Victim
On 2/1 4/18 at 1 oan 1345HRS | interviewed the victim at S.C.1. Huntingdon in the presence.
Administrative Officer 1, epee red this interview. The victim related
it should be noted the victim is

talked to ae PARSONS Tobe Rah Services. Seeaaien on solganta and requested they be separated
due to being enemies. The victim told PARSONS he was suicidal. The victim stated his requests were
no granted. The victim reported “Adam” talked to LT. KENDRICK and threafened to “kil bim or fuck him".

was allegedly given the option to move from the cell but refused as this was “his cell’. The victim
alleg s in the middle of the night on 02/06/18 “Adam” tried to rape him e him but was unsuccessful.
CONTINUED

    

 

 

        
   
 
 

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1258511 pg 29 of 45_for GARTOR BROWN

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Case 3:18-cv-01527-MCC Document 84 Filed 03/17/20 Page 12 of 15

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statement. LPN Trice was_interviewed and submitted a written statement. COT C
Sehnston was mMterviewed and submitted a written statement. Lt Orndorf was
interviewed and submitted a written statement. FX1504 Allen was interviewed and
submitted a written statement. DOC summaries, Cell Histories and Misconduct Histories
were obtained and reviewed. DC-457 Medical Incident/Injury Reports were obtained and
reviewed. Guard 1 Report for the Pipe station located at GA1008 cell were obtained and

reviewed. Inmate Cum @ Adjustment Records for NA6401 Brown were obtained for

review. Pennsylvania State Police were notified of the allegation. No evidence was

collected due to time between the alleged incident date and the date the alleged-incident
was reported. There Is no video available-for this allegation.

SUMMARY OF FINDINGS: .
Inmate Victim /Complainant Version:

NA6401 Brown is serving a 2yr to 4yr sentence from Chester County for Aggravated
Harassment by Prisoner. Brown is currently housed in the Restricted Housing Unit
(RHU).

NA6401 Brown was interviewed on February 14, 2018 in D-2 School by Trooper Lear and
Lt Maxwell.

During the interview Brown was asked to explain details of his allegations. Brown stated ,
“It started on the 3 when I was taken out of the camera cell and placed in_a_cell with
Adam. When Brown was asked who Adam was he stated “my old celly”. Brown was
referring to Allen as Adam. Brown continued to refer to Allen as Adam throughout the
interview. Brown. claimed he told CO Plocinik that he don’t get along with Allen, and was
put in the cell anyway. Brown stated “Assaults started right when I got in the cell and
CO Plocinik just said to have fun with Allen because he's a kid toucher”. Brown alleged
he told several staff on several different dates he needed moved because he and Allen
were not getting along. When asked to identify the staff members he told, Brown stated
“Mr. Parsons, CO Plocinik, Mr. Kendricks, a Sgt and other CO’s”. Brown was asked to
describe the details of the alleged assaults, Brown stated Allen attempted to pull his
jumpsuit down while fighting. Brown alleged at this time he hit his head off the cell and
continued to fight Allen. Brown alleged Allen was attempting to eee et allen
tired and gave up. The second time Brown alleged he and Allen weré fighting and Allen
was attempting to pull his jumpsuit down again. Brown stated he got tired and didn’t
fight off Allen. Brown alleged Allen then “put his dick in my butt and raped me”. When
Brown was asked why he waited so long to report the allegations, Brown stated
“because the same CO's were on the block who kept ignoring me”.

NA6401i Brown refused to submit a written statement.

Inmate Witness Version:

 

 

State Correctional Institution at Huntingdon, 1100 Pike Street, Huntingdon, PA 16654

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